   Case 1:12-cr-00044-JPJ-PMS      Document 225    Filed 05/21/13   Page 1 of 7
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                                                         Case N o.1:12CR 00044



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                                                         Case N o.l:13CR 00008

R O SIE D .R ITC H IE ,

                     D efendant.



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      Randy Ramseyer,AssistantUnited StatesAttorney,Abingdon, Virginia,for
UnitedStates;BenjaminL.Bailey,ChristopherS.M orris,and M ichaelB.Hissam,
Bailey & GlasserLLP,Charleston,WestVirginia,forDefendants.
   Case 1:12-cr-00044-JPJ-PMS    Document 225      Filed 05/21/13   Page 2 of 7
                                 Pageid#: 1076



      The issue before the courtis w hether it should perm itthe dualrepresentation

by counsel of two crim inal defendants w ho are charged as part of the sam e

crim inalschem e,where one ofthe defendants has pleaded guilty and willtestify

for the govem m ent atthe trialof the other defendant. l ordered the defendants to

show cause why 1should notrequire thatthey be represented by separate counsel.

UnitedStatesv.Cline,etaI,Nos.1:12CR00044,1:13CR00008(W .D.Va.Apr.19,
2013). The issue hasbeen fully briefed by the parties. For the reasons stated
below , 1 w ill perm it present defense counsel to continue with their dual

representationoftheco-defendants,subjectto certain conditions.


                                           I

      D efendantDavid Cline is charged w ith conspiracy and structuring relating

to a so-called ttten-percentcheck cashing schem e.'' The governm entcontends that

the schem e, a purpose of w hich w as to avoid paym ent of federal incom e taxes,

involved fictictious sales of coal m ining equipm ent. Over a period of tim e,the

govem m ent alleges, the sellers provided false invoices to certain m ining

com panies. A m ining com pany involved in the schem e w ould pay the invoice to

the equipm ent com pany by check and in return the equipm ent com pany w ould

deposit the check and return cash to the com pany,less ten percent as a fee. N o

actualsale ofequipm entw ould be involved,butthe m ining com pany w ould deduct

                                       -   2-
   Case 1:12-cr-00044-JPJ-PMS     Document 225      Filed 05/21/13   Page 3 of 7
                                  Pageid#: 1077



the invoice am ountas a business expense and pocketthe cash and notreportiton

its incom e tax return. In addition,som e ofthe m ining com panies used the cash to

pay their em ployees ttoff the books,'' so that they did not pay the required

em ploym enttaxes and the em ployees did notreportthe incom e.

      ltis furtheralleged by the governm entthatthe equipm entcom panieswould

ttstructure''theircash withdraw alsin am ounts of$10,000 orless,in orderto avoid

bank reporting requirem entsand thatthe m ining com paniesaided and abetted this

structuring.

      Num erous individuals were allegedly involved in this schem e,and m any

have been charged. A num ber have already pleaded guilty and have agreed to

cooperate with the govenzm ent. Fourdefendantswho have pleaded notguilty are

charged in a single case w hich is setfor trial. Those defendants are Cline,his son,

Joshua Cline,W illiam Adam s,and John W ard. Allwere coalm ine operators.

      O ne ofthe participants in the schem e w ho has pleaded guilty and is aw aiting

sentencing isRosie D .Ritchie. She worked for certain otherm ine operators as a

booltkeeper. She knew J.D . M cR eynolds, a m ine equipm ent seller w ho it is

claim ed w as at the center of the schem e, and she facilitated her em ployers

becom ing involved. The governm ent plans to callher as a w itness in its case-in-

chief at the upcom ing trial of Cline and his codefendants. She does not know

Cline(and he doesnotknow her)and shecannotdirectly link him to the scheme,

                                        -   3-
   Case 1:12-cr-00044-JPJ-PMS      Document 225      Filed 05/21/13   Page 4 of 7
                                   Pageid#: 1078



although the governm ent w ill contend that her description of the schem e w ill

m atch detailsofotherevidence againstCline and thus supportits case againsthim .

      Both Cline and Ritchie arerepresented by law yersfrom the tirm ofBailey &

GlasserLLP (tEBailey & Glasser''). Attorney ChristopherS.M orris,apartnerwith
Bailey & Glasser,represented Ritchie in negotiating herplea agreem entbeginning

in late 2011. Cline approached B ailey & G lasser aboutpossible representation in

thismatterin September2012. Bailey & Glasserattorneys Morris,Benjamin L.
Bailey, and M ichael B. H issam com m enced representation of Cline shortly

thereafter. A ttom eysB ailey and H issam have neverm etR itchie and have notbeen

personally involved in herrepresentation.

      C line's attorneys have advised the court that they do not contest Ritchie's

expected testim ony,although they willdispute its implications as to Cline. They

say that they do not intend to attack R itchie's credibility at Cline's trial. Their

clientshave both signed w ritten w aivers ofany such potentialconflict. ln addition,

1questioned both defendantson therecord and both stated thatthey understood the

situation and agreed to the dual representation.Their attorneys assured the court

that if any m atters com e to their attention prior to trialthatw ould require them to

take positions adverse to either of the clients,they would prom ptly advise the

court.




                                         -4-
   Case 1:12-cr-00044-JPJ-PMS       Document 225    Filed 05/21/13   Page 5 of 7
                                    Pageid#: 1079



      The governm ent has expressed concern about this dual representation,

pointing out, am ong other issues, that if it appears that R itchie shaved her

testim ony in som e way to help Cline,she m ay lose an opportunity to obtain a

m otion from the govem m ent for a lesser sentence based upon her substantial

assistance in Cline'sprosecution.



                                         11

      The Sixth Am endm entrightto counselincludes the rightofa defendantto

be represented by counselof his or her choice. See l#'
                                                     /Jcl/ v. United States,486

U.S.153,164 (1988). Thepresumption in favorofa defendant'schosen counsel
can, how ever,be overcom e by a show ing of a serious potential for contlict. 1d.

D istrict courts have signifcant discretion w hen deciding w hether to accept or

rejectwaiversofconflictofinterest.1d.at163.
      V irginia Rule of ProfessionalConduct 1.7 provides that,absent valid client

consent,an attorney shallnotrepresenta client if,inter alia,itthere is a significant

risk thatthe representation ofone orm ore clients willbe m aterially lim ited by the

law yer's responsibilities to another client.'' V a. RulesofProflConduct 1.7(a).1

The client'sinformed,written consentto representation by the lawyerdespite such

      1   The V irginia professional responsibility nzles constitute the applicable
disciplinary rulesofthiscourt. W .D.Va.RulesofDisciplinary EnforcementIV(B). A1l
attorneys,including those admitted pro hac vice,are subjectto these rules. W .D.Va.
Gen.R.6(h).
   Case 1:12-cr-00044-JPJ-PMS      Document 225        Filed 05/21/13   Page 6 of 7
                                   Pageid#: 1080



a contlict is valid if Etthe law yer reasonably believes thatthe law yerw illbe able to

provide com petent and diligent representation to each affected client'' and Sithe

representation isnotprohibitedby law.''1d.1.7(b).Comment23to therulestates,
çç-f'he potential for contlict of interest in representing m ultiple defendants in a

crim inalcase is so grave thatordinarily a lawyershould decline to representm ore

than one codefendant. O n the other hand, com m on representation of persons

having sim ilar interests is proper if the risk of adverse effect is m inim al and the

requirementsofparagraph (b)aremet.''1d.1.7cmt.23.
      W hen law yers are associated in a firm , such as here,tçnone of them shall

knowingly represent a client when any one of them practicing alone would be

prohibited from doing so (by Rule l.7q.'' 1d. 1.10(a). tçsuch situations can be
considered from the prem ise that a firm of law yers is essentially one law yer for

pum oses ofthe rulesgoverning loyalty to the client....'' 1d. 1.10 cm t.2.



                                         1ll

      I find that under the present circum stances,representation of R itchie and

Cline by attorneys in the sam e law firm does notraise any significantrisk of an

imperm issible contlict of interest.          Ritchie's testim ony w ill provide only

background inform ation about the alleged check-cashing schem e and w ill not

supply any particular link to Cline. Indeed, Ritchie does not know Cline or

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   Case 1:12-cr-00044-JPJ-PMS     Document 225     Filed 05/21/13   Page 7 of 7
                                  Pageid#: 1081



anything abouthim . A s such,C line's attorneys do notforesee a need to vigorously

cross-exam ine R itchie or im peach her credibility. l thoroughly questioned both

Cline and R itchie about their dual representation by B ailey & G lasser attorneys,

and both defendants clearly consented to the representation. The attorneys

reasonably believe that they w ill be able to provide com petent and diligent

representation to both R itchie and Cline. Therefore, l w ill not require the

disqualification ofB ailey & G lasser.

      N evertheless, to avoid any appearance of split loyalties and m inim ize the

possibility of a perceived conflict,l w illrequire R itchie's localcounsel,Joseph B.

Lyle,to representR itchie atallf'uture m eetings w ith the governm entin preparation

for C line's trial. ln addition, attorney M orris, w ho has personally represented

Ritchie,willnotbepenuitted to appearfurtheron Cline'sbehalf.

      Itis so O R D E R ED .



                                            EN TER : M ay 21,2013

                                            /s/ Jam es P.Jones
                                            U nited States D istrictJudge
